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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 RONALD BEMIS, individually and
 on behalf of all others similarly
 situated,                                       CLASS ACTION COMPLAINT
                   Plaintiff,                    JURY TRIAL DEMANDED
           vs.                                   Case No:
MRSS INC.,
                     Defendant.


      Plaintiff Ronald Bemis (“Plaintiff”), on behalf of himself and all others

similarly situated, brings this action against Defendant, MRSS Inc. (“Defendant”).

Plaintiff’s allegations as to Plaintiff’s own actions are based on personal

knowledge. The other allegations are based on counsel’s investigation, and

information and belief.

                                  NATURE OF ACTION

      1.         This is a case about a business that profits from addiction.

      2.         Defendant manufactures and sells a psychoactive drug called

tianeptine, or “Tia” for short, under the brand “ZaZa.” The ZaZa products are sold

at hundreds of stores across the United States.

      3.         Defendant promises the ZaZa products are dietary supplements that

provide a wide array of mental and social benefits that will make users “Feel

Good” and “Be Happy.”
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         4.   What Defendant does not disclose is that the ZaZa products contain

tianeptine, a full μ-receptor opioid agonist that can lead to severe psychological or

physical dependence. In fact, tianeptine shares characteristics with United States

Food and Drug Administration (FDA) Schedule II Controlled Substances like

morphine, methamphetamine, cocaine, fentanyl, and phencyclidine (PCP).

         5.   Indeed, Defendant intentionally formulated ZaZa to be extremely

physically and psychologically addictive. As a result, it has high potential for

abuse.

         6.   This is a class action seeking an injunction shutting down sales of

ZaZa (or, in the alternative, obligating Defendant to provide appropriate and

adequate warnings), a full refund to class members of all money spent on the

product, and/or disgorgement of the substantial profits that Defendant has

generated from the sale of the product.

                                      PARTIES

         7.   Plaintiff Ronald Bemis is domiciled in Tinley Park, Illinois and

purchased ZaZa in January 2025 at retail stores located in Illinois.

         8.   Plaintiff would not have purchased the ZaZa Products if he had known

that it was extremely physically and psychologically addictive with a high potential

for abuse.




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         9.    Plaintiff reviewed and relied on the product labeling at the time of

purchase, and none of the aforementioned facts regarding the extreme risk of

addiction were disclosed.

         10.   Plaintiff has no past or present financial, employment, familial, or

other relationship with any of the attorneys in this action that would create a

conflict of interest with the proposed Class members.

         11.   As a result of the addictive nature of the product, Plaintiff and every

member of the proposed Class is at risk of becoming dependent on the product and

being forced to purchase the product again and again.

         12.   Indeed, given the addictive nature of ZaZa, Plaintiff and members of

the proposed Class are likely to purchase the product again in the future, unless

proper warnings are given and/or the product is taken off the market.

         13.   Therefore, an injunction would benefit Plaintiff in the future by

removing from the market a product that is highly likely to trigger addictive

behaviors. An injunction would also protect Plaintiff and members of the proposed

Class by removing from the market a product they are otherwise likely to purchase

again.

         14.   Defendant MRSS Inc. (“MRSS”) is a Georgia company with its

principal place of business in Atlanta, Georgia. MRSS manufactures, distributes,

advertises, and sells the ZaZa products. MRSS also owns various intellectual



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property rights to the ZaZa products, including trademarks for ZaZa, ZaZa Red,

ZaZa Silver, and ZaZa White.

      15.    Defendant designed, tested, researched, manufactured, sold, marketed,

distributed, and/or otherwise engaged in acts or omissions which caused harm to

Plaintiff and Class members.


                          JURISDICTION AND VENUE
      16.    This Court has subject matter jurisdiction over this action pursuant to

the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), because this case is a class

action where the aggregate claims of all members of the proposed Classes (defined

below), exclusive of interest and costs, exceed the sum or value of $5,000,000 and

Plaintiff, and at least some members of the proposed Class, are citizens of a

different state than Defendant.

      17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claim occurred in this

District, and Defendant’s principal place of business is in this District and in the

Atlanta Division of this District. Defendant’s decisions concerning the formulation,

marketing, labeling, and sale of the products at issue originated in this District and

in the Atlanta Division of this District.




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                             FACTUAL ALLEGATIONS

   I.         Tianeptine is Highly Addictive

        18.     Tianeptine is a synthetic tricyclic compound that is used (with

appropriate medical supervision) as prescription antidepressant in some parts of

Europe, Asia, and Latin America. It comes in various forms, including tianeptine

salts (tianeptine sodium and sulfate) and tianeptine free acid. Tianeptine is not

approved for any medical use in the United States.

        19.     Tianeptine is a full μ-receptor opioid agonist that binds to and

activates opioid receptors in the brain and spinal cord to produce maximal opioid

effects. Other examples of full μ-receptor opioid agonists include heroin,

oxycodone, methadone, hydrocodone, morphine, and opium.

        20.     Tianeptine causes dependence and addiction by stimulating the release

of dopamine in the limbic system of the brain. This results in users experiencing a

euphoric high that carries a significant risk of overdose. Further, tianeptine has a

short half-life that can lead to a rapid withdrawal, increasing its risk for addiction

and misuse.

        21.     In the United States, tianeptine is one of a wide range of substances

commonly referred to as a “gas station drug” because it is sold at gas stations,

corner stores, bodegas, and mini-marts. Gas station drugs are typically produced by

drug manufacturers or laboratories that aim to manufacture products that mimic the



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effects of illicit substances such as marijuana, cocaine, and opioids. Tianeptine

products are commonly referred to as “gas station heroin.”

      22.    A study conducted by the Centers for Disease Control and Prevention

(“CDC”) in the United States regarding tianeptine exposure found a significant

increase in calls to U.S. poison control centers relating to tianeptine exposure

between 2014 and 2017. The CDC found that most tianeptine exposures occurred

among individuals aged 21–40 who reported neurologic, cardiovascular, and

gastrointestinal symptoms, along with symptoms that mimic opioid toxicity. A

substantial number of those calls also reported callers were experiencing clinical

effects of withdrawal.

      23.    As a part of the study, the CDC issued the following public health

warning:




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   II.         International and Domestic Regulation of Tianeptine

         24.     While Tianeptine is available in tightly controlled medical contexts in

some countries other than the United States, many countries have banned it

outright.

         25.     For example, following a significant number of tianeptine overdoses,

Turkey classified tianeptine as a controlled substance and banned its use.

         26.     Similarly, tianeptine is restricted or banned in Armenia, Ukraine,

Singapore, Russia, Bahrain, and Italy.

         27.     In the United States, on February 10, 2022, the FDA issued a notice to

consumers warning that tianeptine is not approved by the FDA for any medical

purpose and that there had been an increase in reports relating to negative reactions

to tianeptine.

         28.     In February 2024, the Drug Enforcement Administration (“DEA”)

issued a warning regarding the emerging risks of tianeptine.

         29.     Alabama, Delaware, Florida, Kentucky, Mississippi, Michigan,

Minnesota, North Carolina Tennessee, Georgia, Indiana, and Ohio have banned, or

severely restricted, the sales of tianeptine.

         30.     Despite these bans in other countries and many states and warnings

from multiple federal government authorities, Defendant continues to market the




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product¾with no warnings about its addictive potential¾in numerous states

across the country.

   III.      The ZaZa Products

       25.     The subject products at issue in this case are ZaZa Red, ZaZa Silver,

and ZaZa White:




       26.     The ZaZa products marketed and distributed by Defendant are made

with tianeptine (in the form of tianeptine sodium and/or tianeptine free acid).

       27.     As discussed above, tianeptine is a psychoactive substance with

debilitating effects.




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      28.    Like opioid products, consumption of ZaZa creates a significant risk

of addiction, dependency, and painful withdrawal symptoms, among other negative

effects. Opioids are addictive not only because of the pleasurable effects that they

produce, but also because sudden cessation of opioid use causes severe withdrawal

symptoms which users feel compelled to avoid by taking more of the drug. Users

want to stop but cannot.

      29.    Substances that act on the opioid receptors, like Defendant’s ZaZa

products, have a high risk of addiction. Addiction occurs when the user develops a

tolerance to the product that requires the user to consume larger and larger doses of

the active ingredient to achieve the same effects that a lower dose previously

produced. As the doses increase, the body becomes dependent on the active

ingredient to feel normal and function properly. When the active ingredient is

suddenly taken away or the user tries to stop taking the product, withdrawal occurs.

Withdrawal symptoms cause the user to feel much worse than they did before they

started taking the product and can be extremely painful and intolerable to the user.

      30.    Tianeptine withdrawal symptoms are similar to those of traditional

opioid withdrawal. These symptoms include delirium, autonomic dysfunction

and/or hyperactivity, agitation, insomnia, headache, restlessness, nausea, vomiting,

tachycardia, hypertension, diarrhea, tremors, excessive sweating, drowsiness, and

confusion.



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      31.    Users typically start substances like tianeptine because of how good it

makes them feel, but once addicted, they use tianeptine to avoid the pain and

sickness of withdrawal. In other words, users are compelled to continue using the

product to avoid feeling “sick.”

      32.    Consumers have communicated that, when they first began taking the

ZaZa products, they were unaware of the significant, adverse effects and addictive

properties of tianeptine. When reasonable consumers think of opioids, they think of

heroin, fentanyl, hydrocodone, oxycodone, or morphine. They do not think that

ZaZa products sold at gas stations or other local stores will act like an opioid with

the same, if not greater, addiction and dependency risks as opioids. As a result,

many unsuspecting consumers have developed, or are at extreme risk of

developing, tianeptine dependencies that can cause them serious physical,

psychological, and financial harm. Considering these dependencies, once

consumers begin buying ZaZa, they often cannot stop and are likely to continue to

purchase ZaZa products, even when they don’t want to.

      33.    Consistent among the reports of addiction from tianeptine products is

a feeling of initial shock when users realize they had become unknowingly

addicted and how difficult it is to stop their tianeptine use. Below are several

accounts from the “Quitting Tianeptine” forum on www.reddit.com, where users

complained about their addiction to tianeptine products and ZaZa:



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      i.    One user wrote: Getting off zaza

      I been on 2 to 3 bottles a day now for about 6 months. It’s killing
      me fin[ancii[]ally and ruining my relationship with my family
      any thought on how to get through it? I have made it down to just
      one bottle a day a couple times but could never get lower than
      that. I’m currently having to dose every 3 to 4 hours and I can’t
      keep doing this. I even wake up in the middle of the night every
      night and have to dose just go to sleep. I’m working 7 days a
      week just to keep up with the habit and I’m tired I can’t keep
      doing this
      ii.    Another user shared: Please help! I take 2 bottles of zaza
      reds a day and I want to quit!
      I am so worried about the withdrawls I take 2 bottles of zaza reds
      a day. I have tried quitting before but the rls, night sweats and
      restless arm thing keeps me on them. Please someone help me
      out with any advice you have. Thank you!
      iii. Another user shared: I first tried Tianeptine (in the form of
      Tianaa Red) on January 9, 2018. I thought nothing of it when the
      clerk at a small store I once frequented said “it’s just like kratom
      and all that other stuff.” Of course, he’d never used such
      substances and had no real idea of their differing effects. I
      purchased a bottle (for $40) and wasn’t impressed at first,
      probably because I was already a narcotics addict (hydrocodone,
      oxycodone) with an incredibly high tolerance (10-15 10mg
      tablets at a time, sometimes twice a day). When my county in
      Alabama (Calhoun) locked down the opiate prescriptions in
      2016, I jumped onto kratom. When it was scheduled in 2017, I
      had nowhere to go and could get nothing. So I gave Tianeptine a
      second chance on January 11 and was hooked.


      For two years and eight months (01/11/18 - 08/11/20), I suffered
      tremendously. The only two times I ever stopped taking


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      Tianeptine was for a week in July 2018 (I was deployed to
      Maryland, where I couldn’t find it) and for 30 days in
      September/October the same year (I was deployed to South
      Carolina and couldn’t find it there either, but loaded up on
      kratom). Both of my relapses were because of that famous lie
      addiction tells us: I’d quit it for that long, so I can control it in
      moderation. Those are the famous last words before most
      relapses.


      Addiction is the only disease that tells us it’s not a disease.
      So, for two years and eight months, I spent every penny I made
      on Tianaa Red, Za Za Red, Tiara, and Tia-Max. I blew through
      about $30,000 during that time, taking anywhere from 4-6 bottles
      a day. I maxed out five credit cards, pawned two car titles, got
      two loans for $5,000 each, had two payday loans (my checking
      account and my wife’s), and ran up a bill (credit) at the store that
      first introduced me to Tianeptine for over $6,000. I pawned my
      wedding band and my wife’s silver jewelry, stole money from
      my son, stole money from others (even from my Church’s
      offering plate...twice), and borrowed from every friend I had
      (losing a few in the process). I’d once read a comment on Reddit
      wherein someone warned that you’d sell your soul for that stuff.
      Boy, did I. I even landed in my local ER twice and gained 40+
      lbs.
      On August 11, 2020, after my wife had left me and my son had
      stopped speaking to me, I tried twice that Tuesday morning to
      hang myself. No matter what I did, I could not stop taking
      Tianeptine. It was the last thing I thought of before going to bed
      at night and the first thing I thought of every morning. Every day
      was a struggle to find money to get more, or else the WDs would
      set in and devastate me. I experienced it all: restless leg
      syndrome, profuse sweating (sweat that smelled terrible), runny
      nose, headaches, and severe full-body pain to the extent that it

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              felt like I’d been dropped off a third-floor balcony. I could barely
              walk. So that morning, I called the Employee Assistance
              Program (EAP) hotline (I work for the Federal government) and
              was admitted into a detox unit by 1:30 pm, by which time I’d
              already consumed one 15-count and one 24-count bottle of Za Za
              Red. Had I not been admitted, I knew I’d have died by that day’s
              end. August 12th, 2020 was my first day without Tianeptine in
              Heaven knows how long.
      34.     This Internet forum is filled with other accounts like these, and the

stories echo each other¾well-meaning people were looking to feel better by taking

with what they thought was an herbal supplement, only to develop an opioid-like

addiction. This evidence makes clear that ZaZa’s addictive potential is a material

fact to reasonable consumers that, if known, would help inform their purchase and

consumption decisions.

      35.     Addiction is a disease. In making consumers addicted to the ZaZa

products, Defendant has created an unreasonable health hazard. At a minimum,

Defendant had a duty to fully disclose this fact on the packaging of its products.

   IV.      Defendant Marketed the ZaZa Products In A Deceptive Manner

      39.     Defendant markets and sells the ZaZa products without sufficient

regard to the serious dangers posed by the products.

      40.     Defendant promises the ZaZa products are dietary supplements that

provide a wide array of mental and social benefits that will make users “Feel

Good” and “Be Happy.”



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      41.    But Defendant fails to disclose material facts, including that ZaZa has

at least as significant a potential for addiction as opioids, should not be taken on a

daily basis, will result in opioid-like dependency when taken regularly, and will

cause adverse effects upon withdrawal.

      42.    Defendant also fails to disclose the numerous side effects and

withdrawal symptoms caused by the ZaZa products, including delirium, autonomic

dysfunction and/or hyperactivity, agitation, insomnia, headache, restlessness,

nausea, vomiting, tachycardia, hypertension, diarrhea, tremors, excessive sweating,

drowsiness, and confusion.

      43.    Moreover, there are no warnings or disclosures on the packaging—or

even an asterisk suggesting that purchasers should review the back of the product

or information located elsewhere for more information. Photos of the side and back

panels of the ZaZa products are below:




                                     ZaZa Silver Label


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                                  ZaZa White Label




                                   ZaZa Red Label

      44.   As a direct and proximate result of Defendant’s fraudulent

concealment and failure to warn of the numerous material facts identified above,

many unsuspecting ZaZa users find themselves blindsided by adverse effects from

what they thought was a harmless supplement, especially when they stop taking

ZaZa and find themselves facing severe withdrawal symptoms.




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        45.     Consumers who knew the full truth about ZaZa would not have

purchased Defendant’s ZaZa products or would have paid less than they did for

them.

        46.     To make matters worse, Defendant has given ZaZa products out as

free samples, with zero warning that the product is significantly addictive, or that

continued use may result in severe withdrawal symptoms. The very act of giving

out “free samples” is intended by Defendant and is understood by customers as an

indication that the product is safe and harmless. Without warnings, consumers have

no reason not to try the sample. They may even enjoy the effects and continue

using the product because they do not believe a product with no warnings would

carry any significant risks or substantial addictive potential.

   V.         Defendant Knew They Were Selling A Highly Addictive Product

        47.     As the marketer, manufacturer, and distributor of ZaZa, Defendant

occupies a position of superior knowledge to the average reasonable consumer,

who likely knows nothing about ZaZa products.

        48.     Defendant manufactures the ZaZa products in a specialized lab using

highly technical knowledge about tianeptine salts and free acid to compound the

tianeptine in its products. Defendant was and is aware of all ingredients in the

ZaZa products and the addiction risks posed by the ZaZa products.




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      49.    Defendant is aware of research demonstrating the pharmacological

effects of tianeptine, including the well-established fact that tianeptine acts on the

same μ-opioid receptors in the brain as traditional opioids do, resulting in addictive

effects. Defendant was also aware of reports, studies, and regulatory warnings

(including those identified above) regarding addiction and dependency arising

from tianeptine use.

      50.    Therefore, Defendant knew and intentionally designed the ZaZa

products to prey on users and take advantage of ZaZa products’ great potential to

addict users, thereby increasing Defendants’ profits.

      51.    Nevertheless, Defendant markets the ZaZa products as if they are

ordinary, innocuous over-the-counter dietary supplements, with packaging

appearing as an innocuous dietary supplement, not a product with addictive

potential.

      52.    Defendant knew that ZaZa’s significant addictive potential and painful

withdrawal symptoms would be material facts to reasonable consumers that would

influence their purchasing and consumption decisions, yet Defendant failed to

disclose these facts on ZaZa’s packaging, in its advertisements, or otherwise

because Defendant knew that doing so would adversely affect its profits.

      53.    Defendant’s conduct is contrary to public policy. The United States is

experiencing an opiate crisis. Defendant’s conduct exacerbates that



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crisis¾intentionally designing its ZaZa products to have addictive potential and

risks of dependency that are at least as great as those of opioids while

simultaneously using false and misleading packaging and marketing that

deliberately withholds and actively and fraudulently conceals information about

the significant risks of addiction its ZaZa products pose¾in order to create even

more addicts to line its pockets.

      54.     Defendant had knowledge of the dangerously addictive nature of its

ZaZa products. At a bare minimum, Defendant knew (i) that there was a high

probability that the subject products were dangerously addictive and (ii) that the

disclaimers on the product labeling either failed to adequately disclose those

problems or misleadingly downplayed those risks.

   VI.      No Adequate Remedy at Law

      55.     Plaintiff and Class Members are entitled to equitable relief because no

adequate remedy at law exists.

      56.     Legal remedies are inadequate because they are not equally prompt

and certain and in others way efficient as equitable relief. The need to schedule a

jury trial may result in delay. And a jury trial will take longer, and be more

expensive, than a bench trial.

      57.     Legal damages are also inadequate to remedy the imminent threat of

future harm that Plaintiff faces. Because of the addictive nature of ZaZa products,


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Plaintiff and members of the proposed Class are likely to purchase these addictive

products again in the future and thus suffer future harm. Only an injunction can

remedy this threat of future harm.

                        CLASS ACTION ALLEGATIONS

      58.    Class Definition: Plaintiff brings this action on behalf all people in

the following class and subclass (collectively referred to as “Class Members”):

            a.   Nationwide Class: all people in the United States who purchased a
                 ZaZa product.

            b.  Illinois Subclass: all people who purchased a ZaZa Product in
                Illinois.
      59.    Each of the above class definitions is a placeholder that “may be

altered or amended before final judgment.” Fed. Civ. P. 23(c)(1)(C). Subject to

additional information obtained through further investigation and discovery, the

foregoing class definitions may be expanded or narrowed by amendment or in the

motion for class certification, including through the use of multi-state subclasses to

account for material differences in state law, if any.

      60.    Excluded from the putative classes are Defendant and any entities in

which Defendant has a controlling interest, Defendant’s agents and employees, the

judge to whom this action is assigned, members of the judge’s staff, and the judge’s

immediate family. Also excluded are any claims for personal injury.




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      61.    Numerosity. Members of the Classes are so numerous that their

individual joinder herein is impracticable. On information and belief, each Class or

Subclass includes thousands of consumers. The precise number of Class Members

and their identities are unknown to Plaintiff at this time but may be determined

through discovery. Class Members may be notified of the pendency of this action

by mail, email, text message, and/or publication in relevant online or print

mediums upon review of the distribution records of Defendant, its retailers, its

agents, or other means.

      62.    Commonality and Predominance. Common questions of law and fact

exist as to all Class Members and predominate over questions affecting only

individual Class Members. Common legal and factual questions include, but are

not limited to:

             a.    Whether Defendant knew or should have known that ZaZa is
                   dangerously addictive;

             b.    Whether the dangerously addictive nature of ZaZa products and
                   its painful withdrawal symptoms are material facts to a
                   reasonable person;

             c.    Whether Defendant failed to disclose and concealed the
                   dangerous nature of ZaZa;

             d.    Whether Defendant’s conduct, as alleged herein, violates the
                   consumer protection laws asserted here;

             e.    Whether Defendant made false and/or misleading
                   representations or omissions regarding the ZaZa products to
                   consumers;



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             f.     Whether consumers reasonably relied on Defendant’s
                    representations or omissions regarding the ZaZa products in
                    purchasing them to their detriment;

             g.     Whether Defendant had a duty to disclose the significant risk of
                    causing addiction and/or other significant risks associated with
                    the ZaZa products;

             h.     Whether Defendant breached any such duty;

             i.     Whether Defendant is liable to Plaintiff and Class members for
                    fraud and/or fraudulent concealment or omission; and

             j.     Whether Defendant was negligent in failing to warn Plaintiff
                    and Class members of the significant risk of addiction,
                    dependency, and painful withdrawal symptoms associated with
                    ZaZa products.

      63.    Typicality. Plaintiff’s claims are typical of the claims of the Classes in

that Plaintiff and the Classes sustained damages as a result of Defendant’s uniform

wrongful conduct, based upon Defendant’s failure to inform Plaintiff and all others

similarly situated that the products at issue here can be dangerous.

      64.    Adequacy. Plaintiff will fairly and adequately protect the interests of

Class Members. Plaintiff has retained counsel that is highly experienced in

complex consumer class action litigation, and Plaintiff intends to vigorously

prosecute this action on behalf of the Classes. Plaintiff has no interests that are

antagonistic to those of the Classes. Plaintiff has no past or present financial,

employment, familial, or other relationship with any of the attorneys in this case

that would create a conflict of interest with the proposed class members.




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      65.    Superiority. A class action is superior to all other available methods

for the fair and efficient adjudication of this controversy for, inter alia, the

following reasons: prosecutions of individual actions are economically impractical

for members of the Classes; the Classes are readily definable; prosecution as a

class action avoids repetitious litigation and duplicative litigation costs, conserves

judicial resources, and ensures uniformity of decisions; and prosecution as a class

action permits claims to be handled in an orderly and expeditious manner.

      66.    Without a class action, Defendant will continue a course of action that

will result in further damages to the Plaintiff and Members of the Classes and will

likely retain the benefits of its wrongdoing.

                              CAUSES OF ACTION
                                     COUNT I
                    Violation Of Illinois Consumer Fraud Act,
                              815 ILCS 505/1, et seq.

      67.    Plaintiff hereby incorporates by reference and re-alleges herein the

allegations contained in all preceding paragraphs of this complaint.

      68.    Plaintiff brings this claim individually and on behalf of the members

of the proposed Illinois Subclass against Defendant.

      69.    The Illinois Consumer Fraud and Deceptive Business Practices Act

(“ICFA”), prohibits “unfair or deceptive acts or practices, including, but not limited

to, the use of employment of any deception, fraud, false pretense, false promise,

misrepresentation or the concealment, suppression or omission of any material


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fact, with intent that others rely upon the concealment, suppression or omission of

such material fact . . . in the conduct of trade or commerce . . . whether any person

has in fact been misled, deceived, or damaged thereby.” 815 ILCS 505/2. The ICFA

is to be liberally construed to effectuate its purpose.

      70.    Defendant’s advertisements and marketing for ZaZa are deceptive

because they represent that the products are dietary supplements that will provide

social and mental health benefits, when in fact the ZaZa products are highly

addictive and can cause painful withdrawal symptoms.

      71.    Defendant’s advertisements and marketing conceal and fail to disclose

that the ZaZa products have the potential to be highly addictive and provide opioid

sensation.

      72.    Defendant intended that Plaintiff and each of the other members of the

Illinois Subclass would rely upon its deceptive conduct, and a reasonable person

would in fact be misled by this deceptive conduct.

      73.    By failing to disclose and concealing these facts from Plaintiff and the

Illinois Subclass, Defendant violated and continues to violate the ICFA because it

advertises the ZaZa products with the intent not to sell them as advertised.

      74.    Defendant knew that the ZaZa products were not suitable for their

intended use because they were addictive.




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      75.   Defendant has a duty to Plaintiff and the Illinois Class to disclose the

addictive nature of the ZaZa products because:

            a. Defendant is in a superior position to know the products are highly

                addictive;

            b. Plaintiff and the Illinois Subclass could not have reasonably been

                expected to learn or discover the products were addictive until after

                they purchased the ZaZa products; and

            c. Defendant knew that Plaintiff and the Illinois Subclass could not

                have been expected to learn about or discover the addictive nature

                of the products.

      76.   The facts concealed or not disclosed by Defendant to Plaintiff and the

Illinois Subclass are material in that a reasonable person would have considered

them important in deciding whether or not to purchase the ZaZa products.

      77.   Plaintiff and the Illinois Subclass relied on Defendant to disclose

material information it knew, such as the addictive nature of the ZaZa products,

and not to induce them into a transaction they would not have entered had

Defendant disclosed this information.

      78.   Had Plaintiff and the Illinois Subclass known that the ZaZa products

would be addictive, they would not have purchased the ZaZa products.




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       79.    Because ZaZa products are addictive, Plaintiff and members of the

Illinois Subclass are likely to purchase ZaZa products in the future.

       80.    As a result of Defendant’s use or employment of unfair or deceptive

acts or business practices, Plaintiff and each of the other members of the Illinois

Subclass have been harmed and sustained actual damages in an amount to be

proven at trial.

       81.    In addition, Defendant’s conduct showed malice, motive, and reckless

disregard of the truth such that an award of punitive damages is appropriate.

       82.    Plaintiff seeks all relief available under this statutory cause of action,

including actual damages.

       83.    Plaintiff also seeks equitable relief including, but not limited to,

injunctive relief.

                                    COUNT II
                            Breach of Implied Warranty

       84.    Plaintiff hereby incorporates by reference and re-alleges herein the

allegations contained in all preceding paragraphs of this complaint.

       85.    Plaintiff brings this claim individually and on behalf of the members

of the proposed Nationwide Class and Illinois Subclass against Defendant.

       86.    Defendant, as the designer, manufacturer, marketer, distributor, and/or

seller of the Product, impliedly warranted that the ZaZa products were

merchantable and fit for the ordinary purpose for which they would be used.


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      87.    Defendant breached the implied warranty of merchantability because

the ZaZa products were not in merchantable condition when sold, and did not

possess even the most basic degree of fitness for ordinary use.

      88.    The ordinary intended purpose of the ZaZa products was to serve as a

dietary supplement with mental and social benefits. The ZaZa products were not fit

for that use, or any other use, because they are highly addictive. Due to this, and

other features, the ZaZa products are not fit for their ordinary, intended use as

dietary supplements.

      89.    Plaintiff and Class Members were third-party beneficiaries of

Defendant’s agreements with distributors and sellers for the distribution and sale of

the ZaZa products to consumers. Plaintiff and Class Members were the intended

beneficiaries of Defendant’s implied warranties.

      90.    Plaintiff and Class Members were injured as a direct and proximate

result of Defendant’s breach of its implied warranties of merchantability. Had

Plaintiff and Class Members been aware of the unmerchantable condition of the

ZaZa products, they would not have purchased the ZaZa products.

      91.    Plaintiff provided Defendant with notice of this breach of warranty, by

mailing a notice letter to Defendant’s headquarters, on April 1, 2025.

      92.    Plaintiff seeks damages in an amount to be proven at trial, as well as

any other relief the Court may deem proper.



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                                  COUNT III
                             Fraudulent Concealment

      93.    Plaintiff hereby incorporates by reference and re-alleges herein the

allegations contained in all preceding paragraphs of this complaint.

      94.    Plaintiff brings this claim individually and on behalf of the members

of the proposed Nationwide Class and Illinois Subclass against Defendant.

      95.    Defendant created and implemented a scheme to create a market for

the ZaZa products and substantially increase its sales through a pervasive pattern

of fraudulent omissions. Defendant portrayed the ZaZa products as dietary

supplements with social and mental health benefits, while omitting and concealing

key facts concerning the ZaZa products’ significant risk of addiction, dependency,

and painful withdrawal symptoms.

      96.    Defendant’s advertisements and representations concealed and failed

to disclose material facts, including that the ZaZa products contain a psychoactive

substance that carries significant risks of (1) addiction; (2) dependency; and (3)

painful withdrawal symptoms—such as delirium, autonomic dysfunction and/or

hyperactivity, agitation, insomnia, headache, restlessness, nausea, vomiting,

tachycardia, hypertension, diarrhea, tremors, excessive sweating, drowsiness, and

confusion.

      97.    As the manufacturer, distributor, and marketer of ZaZa, Defendant

had actual knowledge of the above-listed material facts, including that ZaZa


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products are psychoactive substances that carry a significant risk of addiction,

dependency, and painful withdrawal symptoms.

      98.    As the manufacturer, distributor, and marketer of ZaZa, Defendant

had actual knowledge of the ingredients included in its products and the impact of

those ingredients on users. Defendant also knew of the addictive nature of its

products and painful withdrawal symptoms because it is aware of existing medical

literature produced about tianeptine.

      99.    In fraudulently concealing these material facts, Defendant intended to

induce Plaintiff and members of the proposed Class into purchasing as many ZaZa

products as possible, for as long as possible. Put another way, by fraudulently

concealing these material facts, Defendant intended to get consumers like Plaintiff

addicted to ZaZa products so that they would buy more and thus increase

Defendant’s profits.

      100. Plaintiff and members of the proposed Class justifiably relied on

Defendant’s fraudulent omissions. Plaintiff and members of the proposed Class

expected to receive a dietary supplement that would make them feel better, not an

opioid product that would cause them to become addicted, suffer serious side

effects upon withdrawal, and compel them to repeatedly purchase the product. If

Defendant had included an appropriate warning label on ZaZa products, Plaintiff

and members of the proposed Class would not have purchased ZaZa products.



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      101. Defendant’s conduct was fraudulent and deceptive because reasonable

consumers, including Plaintiff, would have found the facts Defendant knowingly

failed to disclose material to their purchasing decisions.

      102. Defendant owed Plaintiff and the Class a duty under Georgia law to

disclose these material facts because it had superior and exclusive knowledge of

the facts, and the facts would be material to reasonable consumers. Defendant’s

duty to disclose arises from the particular circumstances alleged herein because

Defendant’s concealment of the material facts relates to the intrinsic qualities of

ZaZa products and Plaintiff and members of the Class could not reasonably

discover these material facts absent a warning from Defendant.

      103. In short, Defendant MRSS failed to disclose that ZaZa has opioid

properties, is highly addictive, and can cause dependency and painful withdrawal

symptoms. Defendant has failed to disclose these material facts since it began

manufacturing and selling ZaZa products in approximately 2017. Defendant should

have included these material facts on a product label on the ZaZa bottles

themselves.

      104. Plaintiff and members of the proposed Class have been harmed by

paying for ZaZa products that they would not have paid for if Defendant had not

fraudulently concealed material information.




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      105. Defendant’s conduct actually and proximately caused Plaintiff and

Class Members to suffer economic losses related to their repeated purchases, as

well as other general and specific damages. Without Defendant’s fraudulent

conduct, Plaintiff and Class Members would not have purchased the ZaZa

products.

      106. Plaintiff and Class Members seek all available relief, including

damages and injunctive relief.

                                    COUNT IV
                                 Unjust Enrichment

      107. Plaintiff hereby incorporates by reference and re-alleges herein the

allegations contained in paragraphs 1–66 of this complaint.

      108. Plaintiff brings this claim individually and on behalf of the members

of the proposed Nationwide Class and Illinois Subclass against Defendant.

      109. To the extent required, Plaintiff asserts this cause of action in the

alternative to legal claims, as permitted by Rule 8.

      110. Plaintiff and the Class Members conferred a benefit on Defendant

when they purchased ZaZa products, i.e., in the form of gross revenues Defendant

derived from the money they paid to Defendant for the ZaZa Products.

      111. Defendant knew of the benefit conferred on it by Plaintiff and Class

Members and has not adequately compensated Plaintiff and Class Members for this

benefit.


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      112. Defendant has been unjustly enriched in retaining the revenues

derived from Plaintiff’s and the Class Members’ purchases of the ZaZa Products.

Defendant’s retention of such revenues under these circumstances is unjust and

inequitable because Defendant failed to disclose to Plaintiff and Class Members

that the ZaZa products were highly addictive. This caused injuries to Plaintiff and

Class Members because they would not have purchased the ZaZa products (or

would have paid less for them) had they known the true facts concerning the ZaZa

products.

      113. Defendant accepted and retained the benefit in the amount of the gross

revenues it derived from sales of the ZaZa products to Plaintiff and Class

Members.

      114. Defendant has profited by retaining this benefit under circumstances

which would make it unjust for Defendant to retain the benefit.

      115. Plaintiff and Class Members are, therefore, entitled to restitution in

the form of the revenues Defendant derived from its sale of the ZaZa products.

      116. As a direct and proximate result of Defendant’s actions, Plaintiff and

Class Members have suffered an injury in fact and have lost money as a result of

Defendant’s unjust conduct.




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      117. Plaintiff and Class Members lack an adequate remedy at law with

respect to this claim and are entitled to disgorgement of the financial profits that

Defendant obtained as a result of its unjust conduct.

                                    COUNT V
                             Negligent Failure to Warn

      118. Plaintiff hereby incorporates by reference and re-alleges herein the

allegations contained in paragraphs 1–66 of this complaint.

      119. Plaintiff brings this claim individually and on behalf of the members

of the proposed Nationwide Class and Illinois Subclass against Defendant.

      120. Defendant was negligent in failing to warn Plaintiff and Class

Members that ZaZa products contain a psychoactive substance that could lead to

addiction, dependency, and painful withdrawal symptoms.

      121. Defendant had a common law duty under Georgia law to warn

Plaintiff and the Class Members of foreseeable dangers arising from the reasonable

(indeed, intended) use of its ZaZa products.

      122. The foreseeable dangers arising from the use of ZaZa products include

the substantial risks of addiction, dependency, and painful withdrawal symptoms.

Defendant had a duty to warn consumers of these risks associated with using ZaZa

products by including a warning on the product itself.

      123. Defendant breached its duty to warn of these foreseeable risks when it

failed to communicate any such warning to consumers. Defendant breached this

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duty because it did not include any warnings whatsoever on the ZaZa products

themselves.

       124. Defendant’s failure to communicate these risks to Plaintiff and Class

Members led and proximately caused consumers to purchase ZaZa products when

they would not have made such purchases if the products had included warnings

stating that the product contained a psychoactive substance and listing the risks of

addiction, dependency, and painful withdrawal.

       125. Plaintiff and Class Members have been harmed by Defendant’s failure

to communicate a warning because they have paid for products that they otherwise

would not have paid for.

       126. Plaintiff and Class Members seek all available relief for Defendant’s

failure to warn them of the dangers its product posed, including damages and

injunctive relief.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the proposed class, pray

for the following relief:

       A.     That the Court certify the proposed Class(es);

       B.     That the Court appoint Plaintiff as representative of the Class(es);

       C.     That the Court appoint the undersigned counsel as counsel for the
              Class(es);




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      D.      That the Court enter a declaration that Defendant’s actions
              complained of herein violated the statute referenced herein;

      E.      That the Court enter an order finding in favor of Plaintiff and Class
              Members on all counts asserted herein;

      F.      That the Court award injunctive or other equitable relief as necessary
              to protect the interests of Plaintiff and the Class Members, including,
              inter alia, an order prohibiting Defendant from engaging in the
              unlawful acts described above;

      G.      That the Court award actual, compensatory, statutory, nominal, and/or
              punitive damages in amounts to be determined by the Court and/or
              jury;

      H.      That the Court award prejudgment interest on all amounts awarded;

      I.      That the Court enter an order of restitution and all other forms of
              equitable monetary relief;

      J.      That the Court award Plaintiff and Class Members their reasonable
              attorney fees, expenses, and all other costs associated with this action;

      K.      That the Court award all other and further relief as the Court deems
              necessary, just, and proper.

                                  JURY DEMAND

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff requests a jury trial on all issues

so triable.

Dated: June 23, 2025                    Respectfully submitted,
                                        By: /s/ T. Brandon Waddell

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